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 6
                      UNITED STATES DISTRICT COURT
 7               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
                                           )   Case No.:
 9   ROBERT BOYADJIAN,                     )
                                           )   COMPLAINT FOR DAMAGES
10
                 Plaintiff,                )   1. VIOLATION OF THE FAIR
11                                         )   DEBT COLLECTION PRACTICES
            v.                             )   ACT, 15 U.S.C. §1692 ET. SEQ.;
12                                         )   2. VIOLATION OF THE
13
     ASSET ACCEPTANCE, LLC,                )   ROSENTHAL FAIR DEBT
                                           )   COLLECTION PRACTICES ACT,
14               Defendant.                )   CAL. CIV. CODE § 1788, ET. SEQ.
                                           )
15
                                           )   JURY TRIAL DEMANDED
16
                                    COMPLAINT
17

18         ROBERT BOYADJIAN (“Plaintiff”), by and through his attorneys,

19   KIMMEL & SILVERMAN, P.C., alleges the following against ASSET
20
     ACCEPTANCE, LLC (“Defendant”):
21

22

23                                INTRODUCTION
24         1.    Plaintiff’s Complaint is based on the Fair Debt Collection Practices
25
     Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the Rosenthal Fair Debt Collection

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                                  PLAINTIFF’S COMPLAINT
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     Practices Act, cal. Civ. Code § 1788 et. seq. (“Rosenthal Act”), both of which
 1

 2   prohibit debt collectors from engaging in abusive, deceptive, and unfair practices.
 3

 4
                                JURISDICTION AND VENUE
 5

 6
           2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), which

 7   states that such actions may be brought and heard before “any appropriate United
 8
     States district court without regard to the amount in controversy,” and 28 U.S.C. §
 9
     1331, which grants this court original jurisdiction of all civil actions arising under
10

11   the laws of the United States.

12         3.     Defendant regularly conduct business in the State of California
13
     therefore personal jurisdiction is established.
14
           4.     Supplemental jurisdiction to all state law claims is proper pursuant to
15

16   28 U.S.C. § 1367 et seq.
17         5.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
18

19

20
                                           PARTIES

21         6.     Plaintiff is a natural person residing in Los Angeles, California
22
     90028.
23
           7.     Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
24

25
     1692a(3).


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           8.     Plaintiff is a person granted a cause of action under the FDCPA. See
 1

 2   15 U.S.C. §1692k(a); see also Wenrich v. Cole, 2000 U.S. Dist. LEXIS 18687
 3
     (E.D. Pa. Dec. 22, 2000).
 4
           9.     Defendant is a corporation specializing in debt collection with its
 5

 6
     corporate headquarters located at 28405 Van Dyke Avenue, Warren, Michigan

 7   48093.
 8
           10.    Upon information and belief, Defendant is a corporation that
 9
     provides call center, collections, and debt purchase services to companies in the
10

11   United States.

12         11.    At all times material hereto, Defendant acted as a “debt collector”
13
     within the meaning of 15 U.S.C. § 1692(a)(6) and Cal. Civ. Code § 1788.2(b), and
14
     attempted to collect a “debt” as defined by 15 U.S.C. § 1692(a)(5) and Cal. Civ.
15

16   Code § 1788.2(d).
17         12.    Defendant acted through its agents, employees, officers, members,
18
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
19
     representatives, and insurers.
20

21

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23

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                                      PLAINTIFF’S COMPLAINT
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                               FACTUAL ALLEGATIONS
 1

 2          13.   At all times material hereto, Defendant contacted Plaintiff in an
 3
     attempt to collect two consumer debts alleged to be owed to Citibank (South
 4
     Dakota), N.A. and Bank of America.
 5

 6
            14.   Upon information provided and belief, the alleged debt arose out of

 7   transactions that were for personal, family, or household purposes, as Plaintiff
 8
     does not have any business debt.
 9
            15.   Upon information provided and belief, Defendant attempted to
10

11   collect debts from Plaintiff, which he has never incurred and was not obligated to

12   pay.
13
            16.   Defendant sent Plaintiff a collection letter dated April 1, 2014 in
14
     which it alleged that Plaintiff owed a debt of $3,167.96 to Citibank (South
15

16   Dakota) N.A. See Exhibit “A,” April Collection Letter.
17          17.   In its April Collection Letter, Defendant offered to settle the alleged
18
     debt at a “75% discount” for $791.99 if payment was made by 04/30/2014. See
19
     id.
20

21          18.   Upon receiving Defendant’s April Collection Letter and being
22
     concerned, Plaintiff sent Defendant written correspondence, dated April 7, 2014,
23
     disputing that he ever owed an alleged debt to Citibank (South Dakota) N.A. See
24

25
     Exhibit “B,” April Cease & Desist Letter.


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                                   PLAINTIFF’S COMPLAINT
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           19.    Moreover, Plaintiff demanded that Defendant cease and desist from
 1

 2   contacting him and advised that Defendant’s actions had “caused [him] to suffer
 3
     severe humiliation and embarrassment, emotional distress, and physical
 4
     discomfort.” Id.
 5

 6
           20.    Plaintiff also requested validation of the alleged debt.       See id.

 7   Defendant has failed to provide Plaintiff with the requested information.
 8
           21.    Despite Plaintiff’s written cease and desist request, Defendant sent
 9
     Plaintiff another collection letter dated May 1, 2014 in which it alleged that
10

11   Plaintiff owed a debt of $17,666.39 to Bank of America. See Exhibit “C,” May

12   Collection Letter.
13
           22.    In its May Collection Letter, Defendant offered to settle the alleged
14
     debt at a “85% discount” for $2,649.96 if payment was made by 05/31/2014. See
15

16   id.
17         23.    Upon receiving Defendant’s May Collection Letter, Plaintiff sent
18
     Defendant yet another written correspondence, dated May 5, 2014, disputing that
19
     he ever owed an alleged debt to Bank of America. See Exhibit “D,” May Cease &
20

21   Desist Letter.
22
           24.    In the May Cease & Desist Letter, Plaintiff advised Defendant that he
23
     had received a number of other collection letters from Defendant, which each
24

25



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                                   PLAINTIFF’S COMPLAINT
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     contained different debt amounts attempting be collected regarding a mortgage
 1

 2   held with Bank of America and a credit card with Citibank (South Dakota) N.A.:
 3

 4

 5

 6

 7

 8   See id.
 9
           25.    Once again, Plaintiff requested validation of the alleged debts. See
10
     id. Defendant again failed to provide Plaintiff with the requested information.
11

12         26.    Further, despite receiving multiple written cease and desist requests,

13   Defendant sent Plaintiff another collection letter dated July 1, 2014 in which it
14
     alleged that Plaintiff owed a debt of $17,923.17 to Bank of America. See Exhibit
15
     “E,” July Collection Letter.
16

17         27.    In its July Collection Letter, Defendant again offers to settle the
18   alleged at a “85% discount” for $2,688.48 if payment was made by 07/31/2014.
19
     See id.
20
           28.    Plaintiff has never had a mortgage with any lender.
21

22         29.    Plaintiff has never incurred an outstanding credit card debt with
23
     Citibank (South Dakota) N.A.
24

25



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                                    PLAINTIFF’S COMPLAINT
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           30.    Defendant’s actions in attempting to collect a alleged debts that
 1

 2   Plaintiff does not owe were harassing, deceptive, and abusive.
 3

 4
                                 COUNT I
 5               DEFENDANTS VIOLATED § 1692c(c) OF THE FDCPA
 6
           31.    A debt collector violates § 1692c(c) by communicating further with
 7
     a consumer with respect to a debt after being notified in writing that the consumer
 8

 9   refuses to pay a debt or that the consumer wishes the debt collector to cease
10
     further communication with the consumer.
11
           32.    Defendants violated § 1692c(c) when it continued to contact Plaintiff
12

13
     in its attempts to collect debts despite being served with written cease and desist

14   notices.
15

16
                                COUNT II
17               DEFENDANTS VIOLATED § 1692d OF THE FDCPA
18
           33.    A debt collector violates § 1692d by engaging in any conduct the
19
     natural consequence of which is to harass, oppress, or abuse any person in
20

21   connection with the collection of a debt.
22
           34.    Defendants violated § 1692d when it attempted to collect multiple
23
     debts from Plaintiff that he did not owe; when it sent multiple collection letters to
24

25
     Plaintiff attempting to collect debt that he did not incur; when it sent multiple


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                                    PLAINTIFF’S COMPLAINT
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     collection letters to Plaintiff that contained false and misleading information;
 1

 2   when it continued to contact Plaintiff in its attempts to collect debts despite being
 3
     served with written cease and desist notices; when it failed to validate the debts
 4
     after receiving written requests for validation from Plaintiff; and, when it engaged
 5

 6
     in other actions the natural consequence of which was to harass, oppress, and

 7   abuse Plaintiff.
 8

 9
                               COUNT III
10
                 DEFENDANTS VIOLATED § 1692f OF THE FDCPA
11
           35.    A debt collector violates § 1692f by using unfair or unconscionable
12

13
     means to collect or attempt to collect any debt.

14         36.    Defendants violated § 1692f when it sent Plaintiff harassing and
15
     deceptive letters; when it failed to update its records to stop contacting Plaintiff
16
     after being served with a written cease and desist letter; and, generally, when it
17

18   used unfair and unconscionable means to collect the alleged debt.

19

20
                            COUNT IV
21       DEFENDANTS VIOLATED § 1788.17 OF THE ROSENTHAL ACT
22
           37.    A debt collector violates § 1788.17 of the California Civil Code by
23
     failing to comply with § 1692b through § 1692j of the FDCPA.
24

25



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                                    PLAINTIFF’S COMPLAINT
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            38.    Defendants violated Cal. Civ. Code § 1788.17, when it violated the
 1

 2   FDCPA for the reasons set forth in this Complaint.
 3

 4
            WHEREFORE, Plaintiff, ROBERT BOYADJIAN, respectfully prays for
 5

 6
     judgment as follows:

 7
                    a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1)
 8
                       and Cal. Civ. Code § 1788.30(a);
 9
                    b. Statutory damages of $1,000.00 for the violation of the FDCPA
10
                       pursuant to 15 U.S.C. § 1692k(a)(2)(A); as well as statutory
11
                       damages of $1,000.00 for the violation of the Rosenthal Act
12
                       pursuant to Cal. Civ. Code § 1788.30(b);
13
                    c. All reasonable attorneys’ fees, witness fees, court costs and other
14
                       litigation costs, pursuant to 15 U.S.C. § 1693k(a)(3) and Cal. Civ.
15
                       Code § 1788.30(c);
16
                    e. Any other relief deemed fair and proper by this Honorable Court.
17

18

19
                                  DEMAND FOR JURY TRIAL
20

21          PLEASE TAKE NOTICE that Plaintiff, ROBERT BOYADJIAN, demands

22   a jury trial in this case.
23

24

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                                     PLAINTIFF’S COMPLAINT
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                                          Respectfully submitted,
 1

 2
       Dated: November 19, 2014           By: /s/ Amy L. Bennecoff
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                                  PLAINTIFF’S COMPLAINT
